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                            Facsimile: 202.842.0011
                14
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                15          MANTECH INTERNATIONAL CORP.
                16
                17                                    UNITED STATES DISTRICT COURT
                18                                CENTRAL DISTRICT OF CALIFORNIA
                19
                20          DAVID LILLIE,                             Case No. 2:17-CV-02538-CAS-SS
                21                          Plaintiff,                [ASSIGNED TO JUDGE CHRISTINA A.
                                                                      SNYDER, CRTROOM 8D]
                22          v.
                23          MANTECH INT’L. CORP., et al.,             JOINT EXHIBIT LIST
                24                                                    Date:      October 22, 2018
                                            Defendants.               Time:      11:00 a.m.
                25                                                    Courtroom: 8D
                26
                27
                28
LITTLER MENDELSON, P.C.
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                   1                Plaintiff David Lillie (“Plaintiff” or “Lillie”) and Defendant ManTech
                   2        International Corporation (“Defendant” or “ManTech”) submit the following Exhibit
                   3        List to be used at the trial set to begin on November 13, 2018, at 9:30a.m., before the
                   4        Honorable Christina A. Snyder, in Courtroom 8D of the United States District Court,
                   5        Central District of California, at 350 W. First Street, Los Angeles, CA 90012.
                   6
                   7        Exhibit                      Description                        Date         Date
                             No.                                                          Identified   Admitted
                   8
                               1.     First Amended Complaint for Damages/Demand
                   9
                                      for Jury Trial [Lillie Depo. Exh. 1]
                10
                               2.     August 7, 2014 Email string including David
                11
                                      Lillie (“Lillie”), Chau Brown (“Brown”), Wally
                12
                                      Chase (“Chase”), and others, Subject: FW:
                13
                                      Insight HEPS WCA [David Lillie Deposition
                14
                                      (“Lillie Depo.”) Exh. 2]
                15
                               3.     September 1, 2014 Email string including Lillie,
                16
                                      Brown, and Ernest Fierheller (“Fierheller”),
                17
                                      Subject: JUNO HEPS mac files [Lillie Depo.
                18
                                      Exh. 3]
                19
                               4.     October 8, 2014 email from Lillie to Erik Berg
                20
                                      (“Berg”), Subject: IOM 5131-14-194 (manager
                21
                                      needs to get involved) [Lillie Depo. Exh. 4]
                22
                               5.     September 30, 2014 Email string including Lillie,
                23
                                      Brown, and Fierheller, Subject: Re: Footer and
                24
                                      other fixes [Lillie Depo. Exh. 5]
                25
                               6.     September 29, 2014 Email string including Lillie,
                26
                                      Brown, and Fierheller, Subject: Re: Footer and
                27
                                      other fixes [Lillie Depo. Exh. 6]
                28
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                   1
                            7.    October 6, 2014 Email string including Lillie,
                   2
                                  Brown, and Fierheller, Subject: Re: My IoM
                   3
                                  Release schedule [Lillie Depo. Exh. 7]
                   4
                            8.    October 7, 2014 Email string including Lillie,
                   5
                                  Brown, and Fierheller, Subject: Re: My IoM
                   6
                                  Release schedule [Lillie Depo. Exh. 8]
                   7
                            9.    October 7, 2014 Email string including Lillie,
                   8
                                  Brown, and Fierheller, Subject: Re: My IoM
                   9
                                  Release schedule [Lillie Depo. Exh. 9]
                10
                            10.   May 6, 2015 Letter from Bonnie J. Cook
                11
                                  (“Cook”) to Lillie [Lillie Depo. Exh. 10]
                12
                            11.   August 11, 2014 Email string including Lillie,
                13
                                  Brown, Ray Perez (“Perez”), and others, Subject:
                14
                                  RE: WCA MathCad source Files [Lillie Depo.
                15
                                  Exh. 11]
                16
                            12.   August 11, 2014 Email string including Lillie,
                17
                                  Brown, Perez, and others, Subject: RE: WCA
                18
                                  MathCad source Files [Lillie Depo. Exh. 12]
                19
                            13.   September 1, 2014 Email string including Lillie,
                20
                                  Brown, and Fierheller, Subject: JUNO HEPS mac
                21
                                  files [Erik Deposition (“Berg Depo.”) Exh. 13]
                22
                            14.   [Intentionally left blank.]
                23
                            15.   [Intentionally left blank.]
                24
                            16.   October 8, 2014 email string including Lillie and
                25
                                  Berg, Subject: IOM 5131-14-194 (manager needs
                26
                                  to get involved) [Berg Depo. Exh. 16]
                27
                            17.   January 16, 2015 email string including Chau,
                28
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                   1
                                  Berg, and others Subject: Re: Insight delta
                   2
                                  FEMECA holes – need to plug [Berg Depo. Exh.
                   3
                                  17]
                   4
                            18.   January 21, 2015 email from John Klohoker
                   5
                                  (“Klohoker”) to Berg, Subject: Re: David Lillie
                   6
                                  [Berg Depo. Exh. 18]
                   7
                            19.   December 8, 2014 email string including
                   8
                                  Klohoker, Perez, Berg, and others, Subject: Re:
                   9
                                  Insight Payload DADs [Berg Depo. Exh. 19]
                10
                            20.   December 9, 2014 email string including Hui-Yin
                11
                                  Shaw (“Shaw”), Lillie, and others Subject: DAD
                12
                                  3883 [Berg Depo. Exh. 20]
                13
                            21.   December 9, 2014 email between Lillie and Jim
                14
                                  Hale (“Hale”), Subject: DAD 3958 & 3883 [Berg
                15
                                  Depo. Exh. 21]
                16
                            22.   [Intentionally left blank.]
                17
                            23.   December 18, 2014 email string between Berg,
                18
                                  Robin Folsom (“Folsom”), and others, Subject:
                19
                                  FW: InSight Stop Work [Berg Depo. Exh. 23]
                20
                            24.   [Intentionally left blank.]
                21
                            25.   Kaiser Permanente Records re: Lillie August 1,
                22
                                  2017 visit with Leslie Daughtery [Leslie
                23
                                  Daughtery Deposition (“Daughtery Depo.”) Exh.
                24
                                  25]
                25
                            26.   [Intentionally left blank.]
                26
                            27.   * Richard Fettig (“Fettig”) Resume [Richard
                27
                                  Fettig Deposition (“Fettig Depo.”) Exh. 27]
                28
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                   1
                            28.   * Fettig / Lockheed Martin NDA [Fettig Depo.
                   2
                                  Exh. 28]
                   3
                            29.   * July 31, 2014 email string between Fettig and
                   4
                                  James Bradley, Re: Non-Disclosure Agreement
                   5
                                  for InSight Program [Fettig Depo. Exh. 29]
                   6
                            30.   * May 10, 2018 email string between Fettig and
                   7
                                  Jan Aune (“Aune”), Re: Lillie v. ManTech –
                   8
                                  Declaration re Case Facts [Fettig Depo. Exh. 30]
                   9
                            31.   * June 15, 2018 email string between Fettig and
                10
                                  Aune, Re: NDA Expert - Lillie v. ManTech
                11
                                  [Fettig Depo. Exh. 31]
                12
                            32.   * Defendant’s Requests for Production to Fettig
                13
                                  [Fettig Depo Exh. 26]
                14
                            33.   * Documents Produced by Fettig in Response to
                15
                                  Defendant’s Requests for Production [Fettig
                16
                                  Production]
                17
                            34.   Kaiser Permanente Records re: Lillie February 6,
                18
                                  2017 phone call with Maria Luisa Madera-
                19
                                  Guiseppe [Kaiser Production Page 3896 – 3904]
                20
                            35.   Kaiser Permanente Records re: Lillie February
                21
                                  21, 2017 visit with Maria Luisa Madera-Guiseppe
                22
                                  [Kaiser Production Page 3905 - 3928]
                23
                            36.   Declaration of Erik Berg In Support of
                24
                                  Defendant’s Motion for Summary Judgment [Dkt.
                25
                                  47-1]
                26
                            37.   Declaration of Robin Folsom In Support of
                27
                                  Defendant’s Motion for Summary Judgment [Dkt.
                28
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                   1
                                  47-2]
                   2
                            38.   Declaration of Flora Lewis In Support of
                   3
                                  Defendant’s Reply In Support of Motion for
                   4
                                  Summary Judgment [Dkt. 55-3]
                   5
                            39.   Plaintiff’s Supplemental Responses to
                   6
                                  Defendant’s Interrogatories (Set One)
                   7
                            40.   Report of Mark A. Kalish, M.D.
                   8
                            41.   Supplemental Report of Mark A. Kalish, M.D.
                   9
                            42.   * Documents Produced by Kaiser in Response to
                10
                                  Defendant’s Subpoena on April 27, 2018 [Kaiser
                11
                                  Production 000001-002564]
                12
                            43.   * Documents Produced by Kaiser in Response to
                13
                                  Defendant’s Subpoena on July 27, 2018 [Kaiser
                14
                                  Production Page 1 – Page 4196]
                15
                            44.   January 23, 2015 email from Berg to Lillie,
                16
                                  Subject: status change options [Plaintiff’s
                17
                                  Production]
                18
                            45.   January 25, 2015 email string between Lillie,
                19
                                  Carrie Lam, and Enrique Robles, Subject: Case
                20
                                  worker issue [Plaintiff’s production]
                21
                            46.   DLSE Retaliation Complaint [Plaintiff’s
                22
                                  Production]
                23
                            47.   Plaintiff’s NASA Initial Complaint &
                24
                                  Questionnaire for Whistleblowers, Attachment E,
                25
                                  Attachment C [Plaintiff’s Production]
                26
                            48.   Jet Propulsion Laboratory (“JPL”)/ManTech
                27
                                  Reliability Engineering Support Services Contract
                28
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                   1
                                  (“RESS Contract”) – Cover Page, Contents
                   2
                                  [ManTech/Lillie 001327-1329]
                   3
                            49.   RESS Contract - Preamble [ManTech/Lillie
                   4
                                  001330]
                   5
                            50.   RESS Contract - Article 1 – Statement of Work
                   6
                                  And Delivery/Milestone Schedule
                   7
                                  [ManTech/Lillie 001331-1336]
                   8
                            51.   RESS Contract – Section 3.0 Security or Privacy
                   9
                                  Safeguard [ManTech/Lillie 001295]
                10
                            52.   RESS Contract – Access to Sensitive Information
                11
                                  [ManTech/Lillie 001296-001297]
                12
                            53.   RESS Contract – Changes – Labor-Hour/Time-
                13
                                  And-Material [ManTech/Lillie 001298]
                14
                            54.   RESS Contract – Data Removal From Computers
                15
                                  And Electronic Devices [ManTech/Lillie 001299-
                16
                                  1300]
                17
                            55.   RESS Contract – Rights In Data - General
                18
                                  [ManTech/Lillie 001301-1306]
                19
                            56.   RESS Contract – Rights in Technical Proposal
                20
                                  Data / Selection of Personnel [ManTech/Lillie
                21
                                  001306]
                22
                            57.   RESS Contract - Termination [ManTech/Lillie
                23
                                  001307-1310]
                24
                            58.   RESS Contract – Transfer of Technical Data
                25
                                  Under Space Station International Agreements
                26
                                  [ManTech/Lillie 001311]
                27
                            59.   RESS Contract – Security Requirements for
                28
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                   1
                                  Unclassified Information Technology Resources
                   2
                                  and Access to JPL Controlled Facilities
                   3
                                  [ManTech/Lillie 001312-1313]
                   4
                            60.   RESS Contract – New Technology
                   5
                                  [ManTech/Lillie 001314-1318]
                   6
                            61.   February 1, 2007 Offer Letter [ManTech/Lillie
                   7
                                  000082]
                   8
                            62.   February 1, 2007 Letter to Jet Propulsion
                   9
                                  Laboratory [ManTech/Lillie 000090-91]
                10
                            63.   September 21, 2008 Confidentiality, Inventions
                11
                                  and Non-Solicitation Agreement [ManTech/Lillie
                12
                                  000050-55]
                13
                            64.   July 7, 2009 ManTech Employee Action Report –
                14
                                  Job Details (“EAR”) [ManTech/Lillie 000042]
                15
                            65.   March 28, 2011 Letter to Lillie [ManTech/Lillie
                16
                                  000031-32]
                17
                            66.   April 11, 2011 Out-Processing Verification
                18
                                  [ManTech/Lillie 000024-25]
                19
                            67.   April 27, 2011 EAR [ManTech/Lillie 000033]
                20
                            68.   April 11, 2011 Personnel Action Worksheet
                21
                                  (“PAW”) [ManTech/Lillie 000027-30]
                22
                            69.   January 19, 2012 Reliability Engineer Analyst –
                23
                                  Senior Engineer II Requisition [ManTech/Lillie
                24
                                  000077-81]
                25
                            70.   January 23, 2012 Reliability Engineer Analyst
                26
                                  Requisition [ManTech/Lillie 000108-114]
                27
                            71.   January 23, 2012 Offer Letter [ManTech/Lillie
                28
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                   1
                                  000068-70]
                   2
                            72.   January 25, 2012 Confidentiality, Inventions and
                   3
                                  Non-Solicitation Agreement [ManTech/Lillie
                   4
                                  000071-76]
                   5
                            73.   January 25, 2012 Acknowledgement of Receipt
                   6
                                  and Understanding of ManTech’s Information
                   7
                                  Technology Use Policy[ManTech/Lillie 000020]
                   8
                            74.   October 1, 2012 PAW [ManTech/Lillie 000004-
                   9
                                  7]
                10
                            75.   October 1, 2012 EAR [ManTech/Lillie 000008]
                11
                            76.   October 6, 2012 Letter to Lillie from Berg
                12
                                  [ManTech/Lillie 000009]
                13
                            77.   October 1, 2012 Letter to Lillie from Berg
                14
                                  [ManTech/Lillie 000012]
                15
                            78.   October 15, 2012 Out-Processing Verification
                16
                                  [ManTech/Lillie 000010-11]
                17
                            79.   July 18, 2014 Reliability Engineer Analyst
                18
                                  Requisition [ManTech/Lillie 000092-98]
                19
                            80.   July 21, 2014 Offer Letter [ManTech/Lillie
                20
                                  000002-3]
                21
                            81.   July 24, 2014 Confidentiality, Inventions and
                22
                                  Non-Solicitation Agreement [ManTech/Lillie
                23
                                  000844-849]
                24
                            82.   October 16, 2014 Email trail between Berg,
                25
                                  Klohoker, and others, Subject: Bowers/Hale out
                26
                                  of work [ManTech/Lillie 000734]
                27
                            83.   October 16, 2014 email trail between Berg and
                28
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                   1
                                  Lillie, Subject: Stop Work [ManTech/Lillie
                   2
                                  000735]
                   3
                            84.   October 21, 2014 Email trail between Berg,
                   4
                                  Nicholas Talyor, and others, Subject: GRACE-
                   5
                                  FO review information [ManTech/Lillie 000732-
                   6
                                  733]
                   7
                            85.   October 24, 2014 Email trail between Berg,
                   8
                                  Klohoker, and others, Subject: Available Work
                   9
                                  [ManTech/Lillie 000731]
                10
                            86.   November 14, 2014 PAW [ManTech/Lillie
                11
                                  001320-1321]
                12
                            87.   November 14, 2014 Letter to Lillie
                13
                                  [ManTech/Lillie 001322]
                14
                            88.   December 18, 2014 Email trail between Berg,
                15
                                  Folsom, and others, Subject: InSight Stop Work
                16
                                  [ManTech/Lillie 001319]
                17
                            89.   December 19, 2014 PAW [ManTech/Lillie
                18
                                  001323-1324]
                19
                            90.   2006 ManTech Handling Proprietary Information
                20
                                  and Restricted Information Policy
                21
                                  [ManTech/Lillie 000122-124]
                22
                            91.   2011 ManTech Handling Proprietary Information
                23
                                  and Restricted Information Policy
                24
                                  [ManTech/Lillie 000119-121]
                25
                            92.   2012 ManTech Handling Proprietary Information
                26
                                  and Restricted Information Policy
                27
                                  [ManTech/Lillie 000125-129]
                28
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                   1
                            93.    2013 Equal Employment Opportunity/Non-
                   2
                                   Discrimination & Non-Harassment Policy
                   3
                                   [ManTech/Lillie 000151-154]
                   4
                            94.    2006 Standards of Ethics and Business Conduct
                   5
                                   Policy [ManTech/Lillie 000168-192]
                   6
                            95.    2007 Standards of Ethics and Business Conduct
                   7
                                   Policy [ManTech/Lillie 000193-208]
                   8
                            96.    2009 Standards of Ethics and Business Conduct
                   9
                                   Policy [ManTech/Lillie 000209-225]
                10
                            97.    2010 Standards of Ethics and Business Conduct
                11
                                   Policy [ManTech/Lillie 000226-242]
                12
                            98.    2011 Standards of Ethics and Business Conduct
                13
                                   Policy [ManTech/Lillie 000243-261]
                14
                            99.    2012 Standards of Ethics and Business Conduct
                15
                                   Policy [ManTech/Lillie 000262-278]
                16
                            100.   2013 Standards of Ethics and Business Conduct
                17
                                   Policy [ManTech/Lillie 000706-722]
                18
                            101.   2014 Standards of Ethics and Business Conduct
                19
                                   Policy [ManTech/Lillie 000279-298]
                20
                            102.   2015 Standards of Ethics and Business Conduct
                21
                                   Policy [ManTech/Lillie 000299-318]
                22
                            103.   Leave of Absence Policy [ManTech/Lillie
                23
                                   000408-412]
                24
                            104.   Separation Process [ManTech/Lillie 000399-402]
                25
                            105.   January 20, 2015 Email trail between Berg and
                26
                                   Cassie Phongphouthai (“Phongphouthai”),
                27
                                   Subject: Lillie [ManTech/Lillie 000747]
                28
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                   1
                            106.   January 16, 2015 Email trail between Berg,
                   2
                                   Brown, and others, Subject: InSight detla
                   3
                                   FEMECA holes – need to plug [ManTech/Lillie
                   4
                                   000745-746]
                   5
                            107.   January 21, 2015 Email trail between David
                   6
                                   Lopez, Lillie, Berg, and others, Subject: DAD
                   7
                                   004088 [ManTech/Lillie 000748]
                   8
                            108.   January 21, 2015 Email trail between
                   9
                                   Phongphoutahi, Berg, and others, Subject: DAD
                10
                                   004088 [ManTech/Lillie 000749-750]
                11
                            109.   January 21, 2015 Email trail between Berg and
                12
                                   Phongphouthai, Subject: David Lillie
                13
                                   [ManTech/Lillie 000751-752]
                14
                            110.   January 22, 2015 Email trail between Berg,
                15
                                   Phongphouthai, and others Subject: David Lillie
                16
                                   [ManTech/Lillie 000753-755]
                17
                            111.   January 23, 2015 Email to Berg and Folsom from
                18
                                   Phongphouthai, Subject: David Lillie
                19
                                   [ManTech/Lillie 000756-758]
                20
                            112.   January 23, 2015 Email trail between Berg,
                21
                                   Folsom, and Phongphouthai, Subject: David
                22
                                   Lillie [ManTech/Lillie 000759-760]
                23
                            113.   January 23, 015 PAW [ManTech/Lillie 001325-
                24
                                   1326]
                25
                            114.   January 26, 2015 Emails from Folsom to Berg,
                26
                                   Subject: Lillie Update [ManTech/Lillie 000725-
                27
                                   726]
                28
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                   1
                            115.   January 30, 2015 Findings and Recommendations
                   2
                                   [ManTech/Lillie 000898-899]
                   3
                            116.   February 13, 2015 Email trail between Berg and
                   4
                                   Folsom, Subject: Lillie Badge [ManTech/Lillie
                   5
                                   000736-737]
                   6
                            117.   February 13, 2015 Email trail between Berg,
                   7
                                   Folsom, and others, Subject: Separation
                   8
                                   Notification for David D Lillie [ManTech/Lillie
                   9
                                   000738-740]
                10
                            118.   February 13, 2015 Email from Folsom to Lillie
                11
                                   and others, Subject: Fed-ex label [ManTech/Lillie
                12
                                   000741]
                13
                            119.   March 24, 2016 Email trail between
                14
                                   Phongphouthai, Berg, and others, Subject: emails
                15
                                   from Lillie [ManTech/Lillie 000859-863]
                16
                            120.   April 16, 2015 Email trail between Kaye Gerron,
                17
                                   Berg, and others, Subject: Call with Mai
                18
                                   [ManTech/Lillie 000761-764]
                19
                            121.   April 16, 2015 Email trail between Nerman Syed
                20
                                   (“Syed”), Berg, and others, Subject: Call with
                21
                                   Mai [ManTech/Lillie 000765-772]
                22
                            122.   April 13-15, 2015 Email trail between Syed,
                23
                                   Berg, and others, Subject: Data Breach on JPL
                24
                                   Subcontract Number 1384568 [ManTech/Lillie
                25
                                   000773-774]
                26
                            123.   April 13-14, 2015 Email trail between Syed,
                27
                                   Berg, and others, Subject: Data Breach on JPL
                28
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                   1
                                   Subcontract Number 1384568 [ManTech/Lillie
                   2
                                   000775-778]
                   3
                            124.   April 13-14, 2015 Email trail between Syed,
                   4
                                   Cook, Richard Fisne, Berg, and others, Subject:
                   5
                                   Data Breach on JPL Subcontract Number
                   6
                                   1384568 [ManTech/Lillie 000779-786]
                   7
                            125.   April 21, 2015 Email trail between Syed, Cook,
                   8
                                   and others, Subject: JPL next steps
                   9
                                   [ManTech/Lillie 000836-837]
                10
                            126.   April 23, 2015 EAR [ManTech/Lillie 0001337]
                11
                            127.   April 24, 2015 Email trail between Cook, Syed,
                12
                                   Berg, and others, Subject: notes from JPL data
                13
                                   breach discussion [ManTech/Lillie 000803-805]
                14
                            128.   April 24, 2015 Email trail between Cook, Syed,
                15
                                   Berg, and others, Subject: notes from JPL data
                16
                                   breach discussion [ManTech/Lillie 000806-809]
                17
                            129.   April 24, 2015 Email trail between Cook, Syed,
                18
                                   Berg, and others, Subject: notes from JPL data
                19
                                   breach discussion [ManTech/Lillie 000811-813]
                20
                            130.   May 27, 2015 Email trail between Syed, Berg,
                21
                                   and others, Subject: ManTech Response Letter
                22
                                   [ManTech/Lillie 000792-794]
                23
                            131.   April 24, 2015 Email between Syed, Berg, and
                24
                                   others, Subject: ManTech Response Letter, and
                25
                                   April 24, 2015 letter [ManTech/Lillie 000801-
                26
                                   802]
                27
                            132.   June 11, 2015 Email trail between Syed, Berg,
                28
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                   1
                                   and others, Subject: Availability Request
                   2
                                   [ManTech/Lillie 000838-850]
                   3
                            133.   June 11, 2015 Email trail between Syed, Berg,
                   4
                                   and others, Subject: Availability Request
                   5
                                   [ManTech/Lillie 000851-853]
                   6
                            134.   August 30, 2016 Email trail between Berg, Syed,
                   7
                                   Christian, and others, Subject: David Lillie
                   8
                                   [ManTech/Lillie 000727-728]
                   9
                            135.   Lillie Pay Stubs [ManTech/Lillie 001001-1110]
                10
                            136.   November 20, 2014 email from Linda Facto to
                11
                                   John Klohoker and David Lille. Subject:
                12
                                   Document in PDMS for LM and SM
                13
                                   subcontractors.
                14
                            137.   September 1, 2014 email from Erneset Fierheller
                15
                                   to David Lillie. Subject: JUNO HEPS mac files.
                16
                            138.   November 20, 2014 email from Davide Lillie
                17
                                   Erik Berg. Subject: Accepted: Insight DADs
                18
                                   discussion.
                19
                            139.   November 20, 2014 email from David Lillie to
                20
                                   John Klohoker and attachments. Subject: Insight
                21
                                   DAD Closure talking points.
                22
                            140.   December 2, 2014 email from David Lillie to
                23
                                   Erik Berg. Subject: Erik’s Office.
                24
                            141.   December 9, 2014 email from David Lillie to
                25
                                   Serena Jeffries. Subject: RE: REMINDER: 5131
                26
                                   Group Meeting Today.
                27
                            142.   December 18, 2014 email string from beginning
                28
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                   1
                                       with email from John Klohoker to Erik Berg.
                   2
                                       Subject: Discussion regarding stop work for
                   3
                                       David Lillie and Jim Hale. [ManTech/Lillie1319]
                   4
                             143.      January 21, 2015 email from John Klohoker to
                   5
                                       Erik Berg. Subject: Re: David Lillie
                   6
                                       [ManTech/Lillie 000751]
                   7
                             144.      January 22, 2015 email string begin with email
                   8
                                       from Cassie Phongphouthai to David Eldson.
                   9
                                       Subject: David Lillie [ManTech/Lillie 000753]
                10
                11
                            Dated: October 1, 2018                     THE LAW OFFICE OF JAN T. AUNE
                12
                13                                                      /s/ Jan T. Aune
                                                                       JAN T. AUNE
                14                                                     Attorney for Plaintiff
                                                                       DAVID LILLIE
                15
                16
                            Dated: October 1, 2018                     LITTLER MENDELSON, P.C.
                17
                18                                                      /s/ Jina Lee
                                                                       ALISON N. DAVIS
                19                                                     JINA LEE
                                                                       Attorneys for Defendant
                20                                                     MANTECH INTERNATIONAL CORP.
                21
                22                  I, Jina Lee, am the ECF User whose identification and password are being used
                23          to file this Stipulated Protective Order. Pursuant to Local Rule 5-4.3.4(a)(2)(i), I
                24          hereby attest that Plaintiff’s counsel concurred in this filing’s content and has
                25          authorized the filing.
                26          BY: /s/ Jina Lee
                                JINA LEE
                27
                28
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